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                    IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                            GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,                   CR 06-39-BMM-02

                 Plaintiff,                  FINDINGS AND
                                             RECOMMENDATIONS TO
       vs.                                   REVOKE DEFENDANT’S
                                             SUPERVISED RELEASE
 KELLY RUTH MORTENSON,

                 Defendant.


                                   I. Synopsis

      The United States accused Ms. Mortenson of violating her conditions of

supervised release by (1) failing to complete a sex offender treatment program; and

(2) knowingly being in the company of a child. She admitted to the violations. Ms.

Mortenson’s supervised release should be revoked. She should be placed in

custody for two months, with 52 months of supervised release to follow.

                                    II. Status

      On April 30, 2007, a jury found Ms. Mortenson guilty of possession of child

pornography. (Doc. 219.) On August 30, 2007, United States District Judge Sam E.

Haddon sentenced Ms. Mortenson to 120 months of incarceration, with 60 months

of supervised release to follow. (Doc. 265.) Ms. Mortenson’s term of supervised


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release began on July 2, 2015. (Doc. 33.)

      On August 19, 2015, the United States Probation Office filed a Report of

Offender Under Supervision notifying the court that Ms. Mortenson had used a

computer with Internet access. United States District Judge Brian Morris,

following the recommendation of the United States Probation Office, allowed Ms.

Mortenson to continue treatment. On December 10, 2015, the United States

Probation office filed a Report of Offender Under Supervision notifying the court

that Ms. Mortenson has attempted to download music on a computer with Internet

access. Judge Morris again allowed Ms. Mortenson to continue treatment. On April

11, 2016, the court modified the conditions of Ms. Mortenson’s supervision to

comply with Ninth Circuit case law. (Doc. 348.)

      Judge Morris revoked Ms. Mortenson’s supervised release on September 14,

2016, because she had unauthorized contact with children and wrote child

molestation stories. (Doc. 360.) Judge Morris sentenced her to four months in

custody followed by fifty-six months of supervised release. (Id.) She began her

current term of supervised release on November 17, 2016.

      Petition

      The United States Probation Office filed a petition asking the Court to

revoke Ms. Mortenson’s supervised release on December 19, 2016. (Doc. 363.)

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The Probation Office accused Ms. Mortenson of violating her conditions of

supervised release by (1) failing to complete a sex offender treatment program; and

(2) knowingly being in the company of a child. (Id.) Based on the petition, Judge

Morris issued a warrant for Ms. Mortenson’s arrest. (Doc. 364.)

      Initial appearance

      Ms. Mortenson appeared before the undersigned on December 21, 2016, in

Great Falls, Montana. Federal Defender Evangelo Arvanetes accompanied her at

the initial appearance. Assistant United States Attorney Jeffery Starnes

represented the United States.

      Ms. Mortenson said she had read the petition and understood the allegations.

Ms. Mortenson waived the preliminary hearing, and the parties consented to

proceed with the revocation hearing before the undersigned. The hearing was set

for January 4, 2017.

      Revocation hearing

      Ms. Mortenson appeared with Mr. Aravantes before the undersigned for a

revocation hearing on January 4, 2017. Mr. Starnes appeared on behalf of the

United States.

      The United States called Sex Offender Treatment Counselor Shawn Abbot

as a witness. Ms. Abbot testified that she discharged Ms. Mortenson from the

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treatment program because she admitted to having contact with children. Based on

the testimony of Ms. Abbot and Ms. Mortenson’s admission of being around

children, the Court found that Ms. Mortenson violated the conditions of her

supervised release. The violations are serious and warrant revocation of Ms.

Mortenson’s supervised release.

      Ms. Mortenson’s violation grade is Grade C, her criminal history category is

I, and her underlying offense is a Class C felony. She could be incarcerated for up

to 24 months. She could be ordered to remain on supervised release for 60 months

to life, less any custody time imposed. The United States Sentencing Guidelines

call for three to nine months in custody.

      Mr. Arvanetes recommended a sentence below the guideline range. Ms.

Mortenson addressed the Court and stated that she understands why she cannot be

around children and that she wants to get her life on track and stay out of jail. Mr.

Starnes recommended a sentence at the low end of the guideline range, with

supervised release to follow.

                                   III. Analysis

      Ms. Mortenson’s supervised release should be revoked because she admitted

violating its conditions. Ms. Mortenson should be sentenced to two months of

incarceration, with fifty-two months of supervised release to follow. This sentence

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would be sufficient given the seriousness of the violations but not greater than

necessary.

                                  IV. Conclusion

      Ms. Mortenson was advised that the above sentence would be recommended

to Judge Morris. The Court reminded her of her right to object to these Findings

and Recommendations within 14 days of their issuance. The undersigned

explained that Judge Morris would consider her objection, if it is filed within the

allotted time, before making a final determination on whether to revoke her

supervised release and what, if any, sanction to impose.

      The undersigned FINDS:

             Kelly Ruth Mortenson violated her conditions of supervised release
             by (1) failing to complete a sex offender treatment program, and (2)
             knowingly being in the company of a child. .


      The undersigned RECOMMENDS:

             The district court should enter the attached Judgment,
             revoking Ms. Mortenson’s supervised release and
             committing Ms. Mortenson to the custody of the United
             States Bureau of Prisons for two months, with fifty-two
             months of supervised release to follow.




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        NOTICE OF RIGHT TO OBJECT TO FINDINGS AND
    RECOMMENDATIONS AND CONSEQUENCES OF FAILURE TO
                         OBJECT

      The parties may serve and file written objections to the Findings and

Recommendations within 14 days of their entry, as indicated on the Notice of

Electronic Filing. 28 U.S.C. § 636(b)(1). A district judge will make a de novo

determination regarding any portion of the Findings and Recommendations to

which objection is made. The district judge may accept, reject, or modify, in

whole or in part, the Findings and Recommendations. Failure to timely file written

objections may bar a de novo determination by the district judge, and may waive

the right to appear and allocute before a district judge.

      Dated the 11th day of January 2017.




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